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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

TRESTON CANNONIER,                               §
                                                 §
       Plaintiff,                                §
                                                 §           No. 4:20cv4061
VS.                                              §
                                                 §           Jury Trial Demanded
TX WEST HOUSTON MOTORS, INC.,                    §
                                                 §
       Defendant,                                §

                                         COMPLAINT

       Plaintiff Treston Cannonier files this Complaint against Defendant TX West Houston

Motors, Inc.

                                             Parties

       1.      Plaintiff Treston Cannonier is an individual residing in Harris County, Texas.

       2.      Defendant TX West Houston Motors, Inc. d/b/a AutoNation Chrysler Dodge Jeep

Ram Houston (“AutoNation”) is a Texas corporation with its principal place of business in Harris

County, Texas. AutoNation may be served through its registered agent, Corporation Service

Company dba CSC – Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620,

Austin, Texas 78701-3218.

                                    Jurisdiction and Venue

       3.      This Court has federal question jurisdiction because the case arises under the

Family and Medical Leave Act (FMLA).

       4.      Venue is proper because all of the events in question occurred in this District.

                                        Claim for Relief

       5.      Mr. Cannonier worked as a salesperson for AutoNation in Houston, Texas.



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       6.      Mr. Cannonier worked for AutoNation for more than one year and for more than

1250 hours during that year. Mr. Cannonier is an “eligible employee” for purposes of the FMLA.

       7.       AutoNation has more than 50 employees within a 75-mile radius of Mr.

Cannonier’s place of work. AutoNation is therefore an “employer” for purposes of the FMLA.

       8.      Mr. Cannonier suffered physical and psychological injuries as a result of an

accident on the job. Mr. Cannonier made a workers’ compensation claim (which is not at issue in

this lawsuit). Gallagher Bassett administered this claim for AutoNation. Mr. Cannonier requested

FMLA leave due to a serious health condition. Matrix Absence Management administered the

FMLA leave on behalf of AutoNation.

       9.      Matrix approved FMLA leave for Mr. Cannonier beginning on June 23, 2020.

Matrix continued to send weekly notices to Mr. Cannonier indicating that his FMLA leave was

approved through the week of September 14, 2020, when the twelve weeks of leave under the

FMLA were exhausted.

       10.     Even though Mr. Cannonier was on approved FMLA leave, AutoNation told him

to return to work in late July. Apparently, AutoNation was trying to place him in a modified light-

duty position for purposes of the workers’ compensation claim. However, this constituted

interference with Mr. Cannonier’s protected rights under the FMLA. The FMLA does not permit

an employer to unilaterally terminate approved leave.

       11.     Mr. Cannonier contacted Gallagher Bassett for clarification. The Gallagher Bassett

representative told him that the doctor had not lifted his medical restrictions and that he should not

return to work. Mr. Cannonier did not return to work and remained on FMLA leave.

       12.     Incredibly, on July 30, 2020, AutoNation terminated Mr. Cannonier for job

abandonment, even though he was on approved FMLA leave. In fact, Matrix continued to send



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Mr. Cannonier weekly notices approving his FMLA leave for over a month. Mr. Cannonier

explained the situation to both Gallagher Bassett and Matrix, but nothing was done to reverse the

unlawful termination.

       13.     All conditions precedent have occurred or been satisfied.

       14.     AutoNation violated the FMLA (a) by interfering with Mr. Cannonier’s rights

under the FMLA when it ordered him to return to work during approved FMLA leave, and (b) by

then terminating him for failing to return to work during his approved FMLA leave. AutoNation

is therefore liable to Mr. Cannonier for back pay, loss of benefits, 100% liquidated damages,

reinstatement or in the alternative front pay, attorneys’ fees, pre- and post-judgment interest as

provided by law, and all costs of court.

       For the foregoing reasons, AutoNation should be cited to appear and answer and, upon

final hearing, the Court should enter judgment in favor of Mr. Cannonier and against AutoNation

for back pay, loss of benefits, liquidated damages, reinstatement or in the alternative front pay,

attorneys’ fees, pre- and post-judgment interest as provided by law, all costs of court, and any other

relief to which he may be entitled.

                                               Respectfully submitted,

                                               /s/ David C. Holmes
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